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              In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                         No. 20-998V
                                    Filed: August 26, 2021
* * * * * * * * * * * * * *                        *
                                                   *
JENNIFER BOLZ,                                     *
                                                   *                UNPUBLISHED
                 Petitioner,                       *
                                                   *
v.                                                 *                Ruling on Entitlement; Influenza
                                                   *                (“flu”) vaccine; Axillary nerve palsy.
                                                   *
SECRETARY OF HEALTH                                *
AND HUMAN SERVICES,                                *
                                                   *
                 Respondent.                       *
                                                   *
* * * * * * * * * * * * * *                        *

Daniel Seidman, Esq., Seidman Margulis & Fairman LLP, Belleville, IL, for petitioner.
Kyle Pozza, Esq., U.S. Department of Justice, Washington, DC, for respondent.

                                   RULING ON ENTITLEMENT1
Roth, Special Master:

       On August 11, 2020, Jennifer Bolz (“petitioner”) filed a petition for compensation under
the National Vaccine Injury Compensation Program (“the Program”).2 Petitioner alleges that she
received an influenza (“flu”) vaccination on October 7, 2018, and thereafter suffered from “left


1
  Although this Decision has been formally designated “unpublished,” it will nevertheless be posted on
the Court of Federal Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No.
107-347, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). This means the
Decision will be available to anyone with access to the internet. However, the parties may object to the
Decision’s inclusion of certain kinds of confidential information. Specifically, under Vaccine Rule 18(b),
each party has fourteen days within which to request redaction “of any information furnished by that
party: (1) that is a trade secret or commercial or financial in substance and is privileged or confidential; or
(2) that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole Decision will be available to
the public. Id.
2
  The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§
300aa-10 et seq. (hereinafter “Vaccine Act” or “the Act”). Hereafter, individual section references will be
to 42 U.S.C. § 300aa of the Act.
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axillary nerve palsy and/or left axillary neuropathy.” See Petition at 1.

         On August 26, 2021, respondent filed a report pursuant to Vaccine Rule 4(c) stating that
petitioner’s claim was appropriate for compensation. Resp. Rpt. at 1. Specifically, respondent
agrees with petitioner’s claim that she developed a left axillary nerve palsy. Id. at 4. Respondent
states that petitioner’s injury was more likely than not caused by administration of a flu vaccine
in her left deltoid. Id. at 1, 4. Based on a review of the medical records, respondent states that
petitioner has satisfied the applicable statutory requirements as her injury lasted for at least six
months; therefore, petitioner has satisfied all legal prerequisites for compensation under the Act.
Id. at 4.

       A special master may determine whether a petitioner is entitled to compensation based
upon the record. A hearing is not required. §300aa-13; Vaccine Rule 8(d). In light of
respondent’s recommendation that compensation be awarded and a review of the record, the
undersigned finds that petitioner is entitled to compensation. This matter shall now proceed to
the damages phase.

       IT IS SO ORDERED.

                                                      s/Mindy Michaels Roth
                                                      Mindy Michaels Roth
                                                      Special Master




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